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 4
 5   Attorney for Defendant
     PATRICIA SHIRLEY
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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                                        No. 2:18-CR-00004 DB
10   UNITED STATES OF AMERICA,
                                   Plaintiff,           STIPULATION AND ORDER
11                                                      CONTINUING STATUS CONFERENCE
12          v.                                          AND EXCLUDING TIME UNDER THE
                                                        SPEEDY TRIAL ACT
13   ROSEMARY CHANNEL, BOBBIE JEAN
     SANFORD, PATRICIA SHIRLEY,                         Date: June 26, 2018
14                                                      Time: 10:00am
15                                 Defendants.          Court: Hon. Deborah Barnes

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            This matter involving a charged conspiracy and theft of government property is
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     presently set for a status conference on May 15, 2018.           The government has provided
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     voluminous discovery consisting of more than 3,600 pages and numerous CDs containing at
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     least three months of surveillance footage and audio recordings of numerous witnesses and
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     defendant interviews. Defense counsel are in the continuing process of reviewing discovery,
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     conducting various investigations, and interviewing witnesses.
24
            The parties to the actions, Plaintiff United States of America by and through Assistant
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     United States Attorney Eric Chang, Assistant Federal Defender Linda Allison on behalf of
26
     Defendant Rosemary Channel, Attorney Kelly Babineau on behalf of Defendant Bobbie
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     Sanford, and Attorney Etan Zaitsu on behalf of Defendant Patricia Shirley stipulate as follows:
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 1          1.      By this stipulation, Defendants now move to vacate the status conference
 2   presently set for May 15, 2018. The parties request to continue the status conference to June
 3   26, 2018, at 10:00 a.m., and to exclude time between May 15, 2018 and June 26, 2018,
 4   inclusive, under Local Code T-4. The United States does not oppose this request.
 5          2.      Due to the volume of discovery in the case, defense counsel for all defendants
 6   are engaged in ongoing review of the discovery and defense investigation related to potential
 7   defenses in this matter. This investigation is necessary to ensure that potential defenses are
 8   explored and discussed with each defendant in the case.
 9          3.      All defense counsel represent and believe that failure to grant additional time as
10   requested would deny each of them the reasonable time necessary for effective preparation,
11   taking into account the exercise of due diligence.
12          4.      Based on the above-stated facts, the parties jointly request that the Court find
13   that the ends of justice served by continuing the case as requested outweigh the best interest of
14   the public and the Defendants in a trial within the time prescribed by the Speedy Trial Act.
15          5.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
16   3161, et seq., within which trial must commence, the time period of May 15, 2018 to June 26,
17   2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), and (B) (iv)
18   [Local Code T-4] because it results from a continuance granted by the Court at Defendants’
19   request on the basis that the ends of justice served by taking such action outweigh the best
20   interest of the public and the Defendants in a speedy trial.
21          6.      Nothing in this stipulation and order shall preclude a finding that other
22   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
23   period within which a trial must commence.
24          Assistant U.S. Attorney Eric Chang and all defense counsel have reviewed this
25   proposed order and authorized Etan Zaitsu to sign it via email on their behalf.
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                                                           Respectfully submitted,
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     Dated: May 12, 2018                      /s/ Etan Zaitsu for_______
 1
                                              ERIC CHANG
 2                                            Assistant United States Attorney

 3
     Dated: May 12, 2018                      /s/ Etan Zaitsu for_______
 4
                                              LINDA ALLISON
 5                                            Attorney for Defendant
                                              ROSEMARY CHANNEL
 6
 7
     Dated: May 12, 2018                      /s/ Etan Zaitsu for_______
 8                                            KELLY BABINEAU
                                              Attorney for Defendant
 9                                            BOBBIE SANFORD
10
11   Dated: May 12, 2018                      /s/ Etan Zaitsu _______
                                              ETAN ZAITSU
12                                            Attorney for Defendant
13                                            PATRICIA SHIRLEY

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 1                                              ORDER
 2          BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it
 3   is hereby ordered that the status conference in this matter, scheduled for May 15, 2018, is
 4   vacated. A new status conference is scheduled for June 26, 2018, at 10:00 a.m. The Court
 5   further finds, based on the representations of the parties and Defendants’ request, that the ends
 6   of justice served by granting the continuance outweigh the best interests of the public and the
 7   defendants in a speedy trial. Time shall be excluded under the Speedy Trial Act, 18 U.S.C. §
 8   3161(h)(7)(B)(iv) and Local Code T-4, to allow necessary attorney preparation taking into
 9   consideration the exercise of due diligence for the period from May 15, 2018, up to and
10   including June 26, 2018.
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12   DATED: May 11, 2018                          /s/ DEBORAH BARNES
                                                  UNITED STATES MAGISTRATE JUDGE
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     Order Continuing Status Conference
